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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF LOUISIANA
                                      LAKE CHARLES DIVISION


 STATE OF LOUISIANA ET AL                                        CASE NO. 2:21-CV-00778

 VERSUS                                                          JUDGE TERRY A. DOUGHTY

 JOSEPH R. BIDEN, JR. ET AL                                      MAG. JUDGE KATHLEEN KAY

                                          MEMORANDUM ORDER

          The question before the Court is whether this matter should be transferred, or alternatively,

 partially transferred, to the District of Wyoming pursuant to the first-to-file rule. A Motion to

 Transfer Case, or Alternatively to Sever and Transfer Counts V-VIII [Doc. No. 71] was filed by

 Government Defendants1 on April 27, 2021. An Opposition [Doc. No. 95] was filed by the

 Plaintiff States2 on May 4, 2021. A Reply [Doc. No. 108] was filed by Government Defendants

 on May 6, 2021.

          For the reasons set forth herein, Government Defendants’ Motion to Transfer Case, or

 Alternatively Motion to Sever and Transfer Counts V-VIII is DENIED.



 1
   Government Defendants consist of Joseph R. Biden, Jr. in his official capacity as President of the United States;
 Deb Haaland, in her official capacity as Secretary of the Interior; Michael Nedd, in his official capacity as Deputy
 Director of the Bureau of Land Management; Chad Padgett, in his official capacity as Director of the Bureau of
 Land Management Alaska Office; Raymond Suazo, in his official capacity as Director for the Bureau of Land
 Management Arizona Office; Karen Mouristen, in her official capacity as Director for the Bureau of Land
 Management California Office; Jamie Connell, in his official capacity as Director for the Bureau of Land
 Management Colorado Office; Mitchell Leverette, in his official capacity as Director for the Bureau of Land
 Management Eastern States Office; John Ruhs, in his official capacity as Director for the Bureau of Land
 Management Idaho Office; John Mehlhoff, in his official capacity as Director for the Bureau of Land Management
 Montana – Dakotas Office; Jon Raby, in his official capacity as Director for the Bureau of Land Management
 Nevada Office; Steve Wells, in his official capacity as Director for the Bureau of Land Management New Mexico
 Office; Barry Bushue, in his official capacity as Director for the Bureau of Land Management Oregon-Washington
 Office; Greg Sheehan, in his official capacity as Director for the Bureau of Land Management Utah Office; Kim
 Liebhauser, in her official capacity as Director for the Bureau of Land Management Wyoming Office; Amanda
 Lefton, in her official capacity as Director of the Bureau of Ocean Energy Management; Michael Celata, in his
 official capacity as Regional Director of the Bureau of Ocean Energy Management Gulf of Mexico Office; Lars
 Herbst, in his official capacity as Regional Director of Bureau of Safety and Environmental Enforcement Gulf of
 Mexico OCS Office; and Mark Fesmire, in his official capacity as Regional Director of the Bureau of Safety and
 Environmental Enforcement Alaska and Pacific Office.
 2
   The Plaintiff States consist of the States of Louisiana, Alabama, Alaska, Arkansas, Georgia, Mississippi, Missouri,
 Montana, Nebraska, Oklahoma, Texas, Utah, and West Virginia.
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 I.         BACKGROUND

            On March 24, 2021, Plaintiff States filed a Complaint [Doc. No. 1] against Government

 Defendants asking for declaratory and injunctive relief in regard to Section 208 of Executive Order

 14008 (also known as Tackling the Climate Crisis at Home and Abroad, 86 FR 7619, hereinafter

 “Executive Order 14008”), which ordered the Secretary of the Interior to pause new oil and gas

 leases on public lands or in offshore waters pending completion of a comprehensive review and

 reconsideration of federal oil and gas leasing permitting and leasing practices. This allegedly

 resulted in the halting of oil and gas lease sales in violation of the United States Constitution, the

 Administrative Procedures Act, (“APA”), the Outer Continental Shelf Lands Act (“OCSLA”), and

 the Mineral Leasing Act (“MLA”).

            A Motion for Preliminary Injunction [Doc. No. 3] was filed by Plaintiff States on March

 31, 2021, requesting a preliminary injunction requiring the Government Defendants to continue

 holding OCSLA and MLA oil and gas leasing sales in accordance with applicable law.

            A Notice of Appearance [Doc. No. 70] was filed by the Government Defendants on April

 27, 2021. Said Government Defendants filed a Motion to Transfer Case, or Alternatively, Motion

 to Sever and Transfer Counts V-VIII [Doc. No. 71].

 II.        LAW AND ANALYSIS

            Government Defendants argue that based upon the first-to-file rule, this proceeding should

 be transferred to the District of Wyoming because a pending case3 in Wyoming will significantly

 overlap with the issues in this proceeding.4 Plaintiff States oppose Government Defendants’

 Motion.




 3
     Wyoming v. U.S. Dept. of the Interior, No. 04-cv-56 (D. Wyo. March 24, 2021).
 4
     The Wyoming lawsuit was filed 39 minutes before the Louisiana suit on March 24, 2021.

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        Under the first-to-file rule, when related cases are pending before two Federal courts, the

 court in which the case was last filed may refuse to hear it if the issues raised by the cases

 substantially overlap. Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d 599, 603 (5th Cir. 1999).

 The rule rests on principles of comity and sound judicial administration. Id. The concern

 manifestly is to avoid the waste of duplication, to avoid rulings which may trench upon the

 authority of sister courts, and to avoid piecemeal resolution of issues that call for a uniform result.

 W. Gulf Mar. Ass'n v. ILA Deep Sea Loc. 24, S. Atl. & Gulf Coast Dist. of ILA, AFL-CIO, 751

 F.2d 721, 729 (5th Cir. 1985). Within the Fifth Circuit, once it has been demonstrated that there

 is a likelihood of substantial overlap between the two suits, the general rule is that the court in

 which an action is first filed is the appropriate court to determine whether substantially similar

 issues should proceed. Mann Mfg., Inc. v. Hortex, Inc., 439 F.2d 403, 408 (5th Cir. 1971); Save

 Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947, 950 (5th Cir. 1997). When faced with duplicate

 litigation, in addition to outright dismissal, it sometimes may be appropriate to transfer the action

 or stay it. West Gulf Maritime Ass'n, 751 F.2d at 729 n.l. In deciding if a substantial overlap

 exists, the Fifth Circuit has examined factors such as whether “the core issue ... was the same” or

 if “much of the proof adduced … would be identical” between the two lawsuits. Int'l Fid. Ins. Co.

 v. Sweet Little Mexico Corp., 665 F.3d 671, 678 (5th Cir. 2011). Where overlap between two

 suits is less than complete, the judgment is made case-by-case, based on such factors as the extent

 of overlap, the likelihood of conflict, the comparative advantage, and the interest of each forum in

 resolving the dispute. Save Power Ltd., 121 F.3d at 951.

        Even if substantial overlap exists, courts may exercise discretion and decline application

 of the first-to-file rule in light of “compelling circumstances.” Mann Mfg., Inc., 439 F.2d at 407.




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 An ample degree of discretion, appropriate for disciplined and experienced judges, must be left to

 the lower courts. Bindczyck v. Finucane, 342 U.S. 76, 182, 72 S. Ct. 130, 96 L. Ed. 100 (1951).

         A second-filed court plays a limited roll when presented with a motion to transfer or stay

 based on the first-to-file rule. Cadle Co., 174 F.3d at 605. This role is to decide whether the

 moving party in the second-filed court has demonstrated a “substantial overlap” between the two

 suits. Id.

         Several District Courts and the Fifth Circuit have found that the issues substantially

 overlapped and transferred the case pursuant to the first file rule. Mann Mfg., Inc., 439 F.2d 403

 (where two suits were filed over the infringement or non-infringement of the same patent); Save

 Power Ltd., 121 F.3d 947 (two suits filed over ranking of security interests against the same debtor

 by the same parties); Sutter Corp. v. P & P Industries, Inc., 125 F.3d 499 (5th Cir. 2019) (two suits

 over the appeal of the same agency ruling); Cadle Co., 174 F.3d 599 (two suits over the same issue

 in a collective bargaining agreement); West Gulf Maritime Ass'n, 751 F.2d 721 (two suits over the

 same provision in a union collective bargaining agreement); United States Risk Mgmt., L.L.C. v.

 U. S. Risk Ins. Grp., Inc., No. CV 11-2706, 2012 WL 13001312 (E.D. La. Jan. 25, 2012) (two

 trademark suits over the same trademark); Stannard v. Nat'l Indoor RV Centers, LLC, No. 4:18-

 CV-00366, 2018 WL 3608560 (E.D. Tex. July 27, 2018) (two suits over warranty issues over

 purchase of the same Newmar Mountain Aire motor home); Texas Health Mgmt. LLC v.

 HealthSpring Life & Health Ins. Co., Inc., 380 F. Supp. 3d 580 (E.D. Tex. 2019) (two suits over

 the same arbitration award); and Brocq v. Lane, 2017 WL 1281129 (N.D. Texas April 6, 2017)

 (two suits over issues of lawyer departing from law firm over unauthorized electronic transfers).

         Less than complete overlap of the issues was found in the International Fidelity Ins. Co.,

 665 F.3d 671 (two suits over the same surety bond over customs accessed against the principal;



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 the core issues were different); Hart v. Donostia LLC, 290 F. Supp. 3d 627 (W.D. Tex. 2018)

 (class action where plaintiff opted in regarding FLSA violation and separate suit with additional

 issues); Salazar v. Bloomin' Brands, Inc., No. 2:15-CV-105, 2016 WL 1028371 (S.D. Tex. Mar.

 15, 2016) (class action over FSLA claims against Outback and Title VII and other claims in second

 suit); Gonzalez v. Unitedhealth Grp., Inc., No. 6:19-CV-00700-ADA, 2020 WL 2992174 (W.D.

 Tex. June 3, 2020) (two suits over violation of the Telephone Consumer Protection Act where first

 suit was a class action and second suit against United Healthcare and its affiliates); and N. Cypress

 Med. Ctr. v. Cigna Healthcare, No. 09-CV-02556, 2010 WL 11468609 (S.D. Tex. July 8, 2010)

 (ERISA violations in both suits, where the issues did not squarely overlap).

        1.      SUBSTANTIAL OVERLAP

        In accordance with its limited role as a second-filed court, this Court must determine

 whether there is a “substantial overlap” between the two cases. Government Defendants concede

 that the overlap is less than complete.

                A.      WYOMING SUIT

        The first-filed suit in Wyoming is by the State of Wyoming against the United States

 Department of Interior (“DOI”); DOI Secretary Deb Haaland; the United States Bureau of Land

 Management (“BLM”); the BLM acting director, Nada Culver; and the BLM Wyoming State

 Bureau of Land Management director, Kim Liebhauser.

        Wyoming petitions the court to review the DOI Secretary’s defacto moratorium on all

 federal oil and gas lease sales in Wyoming and across the nation. The petition alleges the Secretary

 of the DOI’s suspension of all federal oil and gas lease sales, in response to President Biden’s

 Executive Order 14008, is unlawful and must be set aside. Wyoming further alleges that the

 stoppage of federal oil and gas lease sales violates the Federal Land Policy and Management Act



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 (“FLPMA”), violates applicable Resource Management Plans (“RMP”), violates the Mineral

 Leasing Act (“MLA”), violates the National Environmental Policy Act (“NEPA”) and violates the

 Administrative Protection Act (“APA”). The petition further alleges the Secretary of DOI’s action

 is subject to judicial review as a final agency action.

        The prayer of the State of Wyoming asks for (1) a declaration that the Secretary of DOI’s

 action violates FLPMA, the MLA, NEPA, and the APA; (2) setting aside and vacating the

 Secretary of DOI’s order; (3) to enjoin the Secretary of DOI from implementing a moratorium on

 federal oil and gas lease sales in Wyoming and across the nation; (4) compel the Secretary of DOI

 to hold quarterly lease sales, including the Wyoming federal oil and gas lease sales; and (5) grant

 other relief Wyoming may seek.

                B.      LOUISIANA SUIT

        The second-filed suit in Louisiana is filed by thirteen states, which are Louisiana, Alabama,

 Alaska, Arkansas, Georgia, Mississippi, Missouri, Montana, Nebraska, Oklahoma, Texas, Utah,

 and West Virginia. All Plaintiff States allege significant interest in the federal oil and gas leasing

 programs and derive substantial revenues from oil and gas leasing.

        The Defendants named are President Joseph R. Biden, Jr.; Deb Haaland, as Secretary of

 the Department of Interior (DOI); Michael Nedd, as Deputy Director of the Bureau of Land

 Management (BLM), along with twelve (12) Directors of Regional BLM offices: Chad Padgett

 (Alaska Office), Raymond Suazo (Arizona Office), Karen Mouritsen (California Office), Jamie

 Connell (Colorado Office), Mitchell Leverette (Eastern States Office), John Ruhs (Idaho Office),

 John Mehlhoff (Montana-Dakotas Office), Jon Raby (Nevada Office), Steve Wells (New Mexico

 Office), Barry Bushue (Oregon-Washington Office), Greg Sheehan (Utah Office), and Kim

 Liebhauser (Wyoming Office).



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        The Complaint also names as Defendants Amanda Lefton as Director of the Bureau of

 Ocean Energy Management, (“BOEM”) along with BOEM Regional Director, Michael Celata

 (Gulf of Mexico Office).

        Also, Lars Herbst, as Regional Director of the Bureau of Safety and Environmental

 Enforcement (“BSEE”) (Gulf of Mexico Office) and Mark Fesmire, as BSEE Regional Director

 (Alaska and Pacific Office), are named as Defendants.

        The Complaint first directly attacks both the constitutionality and the lawfulness of Section

 208 of Executive Order 14008. The Complaint also attacks the alleged moratorium on federal oil

 and gas leasing and alleges violations of the Outer Continental Shelf Lands Act’s (“OCSLA”)

 four-step processes; violations of the OCSLA by BOEM in failing to conduct an analysis of

 economic, social and environmental interests in making leasing decisions before stopping the

 leasing; and violations of the Administrative Procedures Act (“APA”), the Mineral Leasing Act

 (“MLA”), the Federal Land Policy and Management Act (“FLPMA”). The Complaint attacks the

 postponement of leasing sales by each of the DOI offices, alleges ultra-vires actions, and makes

 specific requests with regard to Lease Sale 257, Lease Sale 258 and the cancellation of other March

 and April 2021 lease sales.

        Plaintiff States make claims of unreasonable delay, failure to employ notice and comment,

 acting contrary to law, and, acting arbitrary and capricious under the APA. Further, Plaintiff States

 make claims under the OCSLA of acting contrary to law, unreasonable delay, acting arbitrary and

 capricious, and failure to employ notice under the APA. Finally, Plaintiff States also assert a citizen

 suit under the OCSLA and ultra-vires claims under the MLA and OCSLA.

        Plaintiff States pray for (1) a declaratory judgment holding that the leasing moratoriums

 are contrary to OCSLA and MLA; (2) a declaratory judgment holding the leasing moratoriums are



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 procedurally invalid under the APA; (3) a declaratory judgment that the leasing moratoriums are

 arbitrary and capricious under the APA; (4) a declaratory judgment and permanent injunction

 finding the leasing moratoriums invalid and setting them aside; (5) an injunction prohibiting

 BOEM, BLM or the Secretary of the DOI from taking any actions based upon Section 208 of

 Executive Order 14008 as to any leasing moratorium; and (6) an order compelling defendants to

 proceed with leasing sales under OCSLA and MLA.

                C.      COMPARISON

        None of the plaintiffs are the same. Only two of the defendants (Deb Haaland and Kim

 Liebhauser) are the same. The Wyoming suit only involves land-based oil and gas leases under

 the MLA, while the Louisiana suit involves both land-based oil and gas leases under the MLA and

 offshore production on the outer continental shelf under the OCSLA. Louisiana, Alabama, Alaska,

 Mississippi, and Texas have claims under both the OCSLA and the MLA.

        Both the Wyoming and Louisiana suits make claims under the APA and the MLA

 regarding the oil and gas lease moratorium. Only the Wyoming suit makes claims under the

 FLPMA, the applicable Resource Management Plan, and under the NEPA.

        Only the Louisiana suit makes direct claims to attack the constitutionality and validity of

 Section 208 of Executive Order 14008 and makes claims under the OCSLA. The Louisiana suit

 makes President Joseph R. Biden, Jr. a Defendant and names officials of BOEM and BSEE.

        Although there is some overlap, there is not “substantial overlap.” The primary issues will

 be whether each named Defendant federal agency had the authority and power to cancel and/or

 delay federal oil and gas lease sales. The federal agencies are not the same and the statutory

 authority is not the same. Specific lease sales are involved in the Louisiana suit but are not in the




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 Wyoming suit. The Wyoming suit is a much narrower challenge to one agency decision, while

 the Louisiana suit is a much broader claim against several agencies, and President Biden.

        This Court finds the issues in the two lawsuits do not “substantially overlap.” The Court

 will next examine “less than complete” overlap.

        2.      LESS THAN COMPLETE OVERLAP
        Where there is less than complete overlap (as the Government Defendants concede), the

 determination is made on a case-by-case basis, based upon such factors as the extent of overlap,

 the likelihood of conflict, and the interest of each forum in resolving the suit.

        The extent of overlap is not great. The Wyoming suit is narrower while the Louisiana suit

 is much broader. The only potential for conflict may be as to the land-based oil and gas leases

 under the MLA. There is no potential for conflict under the OCLSA and other statutes not relied

 upon in the Wyoming suit.

        Some of the Plaintiffs States in the Louisiana suit have claims under both the MLA for

 land-based leases and under the OCLSA for offshore leases. Those states have a substantial

 interest in having the suits heard in a forum that handles both the MLA and the OCLSA. It would

 also be a burden to Wyoming to transfer this case there, because this case involves much broader

 claims based upon both land-based and offshore leases, under different statutes. Plaintiffs also

 allege a substantial financial interest in this suit. Louisiana is a state bordering on the Gulf of

 Mexico, which has both offshore and land-based leases. The interest in having the suit heard in

 Louisiana outweighs the interest in having the suit heard in Wyoming, which is only dealing with

 land-based federal leases.

        This Court believes the factors weigh in favor of denying Government Defendants motion

 to transfer and in favor of allowing the case to proceed in the Western District of Louisiana.

        3.      SEVERANCE

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         Alternatively, Government Defendants ask to sever counts V-VIII, transferring the land-

  based portion of this litigation to Wyoming and keeping the offshore portion in Louisiana.

         Severance is governed by a five-factor test, which factors are (1) whether the claims arise

  out of the same transaction or occurrence; (2) whether the posture of discovery suggests they

  should not be tried jointly; (3) whether the claims present common questions of law and fact; (4)

  whether the claims will require testimony of different witnesses and documentary proof; and (5)

  the prejudice to either party in the event separate trials are ordered. Beechgrove Redevelopment,

  L.L.C. v. Carter & Sons Plumbing, Heating & Air Conditioning, Inc., No. CIV.A. 07-8446, 2009

  WL 382713 (E.D. La. Feb. 11, 2009).

         Put simply, it would serve as an injustice to Plaintiff States that have both land-based and

  offshore leases to separate their claims between Louisiana and Wyoming courts. The claims in

  Louisiana are much broader than the Wyoming claims. Some of the Plaintiff States have both

  land-based and offshore leases. It would be prejudicial to require these Plaintiff States to litigate

  their claims in two different courts. This Court is not aware of the status of discovery in the

  Wyoming case, but discovery is likely not advanced since both suits were filed on March 24, 2021.

         Also, as argued by Plaintiff States, the Louisiana case arises from a “thread of

  administrative law violations stemming from Executive Order 14008.” The Plaintiff States argue

  that the explanations of each agency are different and comparing the explanations would be

  important. Plaintiff States maintain the issue in the Louisiana case needs to be tried together.

         Additionally, this Court is not aware of any precedent under the first-to-file rule, which

  would require a severance and then a transfer to the first-filed-court, leaving part of the second-

  filed-suit behind. To do this would defect the primary purposes of the first-to-file rule, defeat

  judicial efficiency, and result in piecemeal resolution of issues.



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         The Government Defendants’ Motion to Sever and Transfer is DENIED.

  III.   CONCLUSION

         For the reasons set forth herein,

         IT IS ORDERED that the Motion to Transfer Case, or Alternatively Motion to Sever and

  Transfer Counts V-VIII [Doc. No. 71] is DENIED.

         MONROE, LOUISIANA, this 10th day of May, 2021.




                                                            TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE




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